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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

CHAD ROBINSON,
                                                               Criminal Case Number 99-20011
                       Petitioner,                             Civil Case Number 07-10001
v.                                                             Honorable David M. Lawson

UNITED STATES OF AMERICA,

                  Respondent.
______________________________________ /

        ORDER DENYING MOTION FOR CERTIFICATE OF APPEALABILITY

       The petitioner, Chad Robinson, was convicted of conspiracy to manufacture 1000 or more

marijuana plants. After the court of appeals affirmed his conviction and sentence, Robinson filed

a motion under 28 U.S.C. § 2255 to vacate his sentence. The Court dismissed the petitioner’s

motion in an order dated February 16, 2007 because it was filed more than one year after his

conviction became final, and therefore was barred by the statute of limitations contained in 28

U.S.C. § 2255.

       The petitioner now has filed a motion for certificate of appealability. A certificate of

appealability may issue “only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate of appealability

indicating which issues satisfy the required showing or provide reasons why such a certificate should

not issue. 28 U.S.C. § 2253(c)(3); Fed. R. App. P. 22(b); In re Certificates of Appealability, 106

F.3d 1306, 1307 (6th Cir. 1997). To receive a certificate of appealability, “a petitioner must show

that reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were adequate to deserve

encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003) (internal quotes
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and citations omitted). The Court finds that reasonable jurists could not debate that this Court

correctly concluded that the petitioner’s motion under section 2255 was barred by the statute of

limitations. Therefore, the Court will deny the petitioner a certificate of appealability.

       Accordingly, it is ORDERED that the petitioner’s motion for a certificate of appealability

[dkt # 616] is DENIED.

                                                        s/David M. Lawson
                                                        DAVID M. LAWSON
                                                        United States District Judge

Dated: January 29, 2009




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on January 29, 2009.

                                                           s/Felicia M. Moses
                                                           FELICIA M. MOSES




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